Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 1 of 20
                                              11/08/21




                          FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


         WHATSAPP INC., a Delaware                  No. 20-16408
         corporation; FACEBOOK, INC., a
         Delaware corporation,                         D.C. No.
                         Plaintiffs-Appellees,      4:19-cv-07123-
                                                         PJH
                          v.

         NSO GROUP TECHNOLOGIES                       OPINION
         LIMITED; Q CYBER TECHNOLOGIES
         LIMITED,
                     Defendants-Appellants.

               Appeal from the United States District Court
                  for the Northern District of California
               Phyllis J. Hamilton, District Judge, Presiding

                  Argued and Submitted April 12, 2021
                       San Francisco, California

                         Filed November 8, 2021

              Before: Mary H. Murguia, Ryan D. Nelson, and
                    Danielle J. Forrest, Circuit Judges.

                         Opinion by Judge Forrest
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 2 of 20
                                              11/08/21




         2        WHATSAPP V. NSO GROUP TECHNOLOGIES

                                   SUMMARY *


                         Foreign Sovereign Immunity

             The panel affirmed the district court’s order denying a
         private Israeli corporation’s motion to dismiss, based on
         foreign sovereign immunity, an action brought under the
         Computer Fraud and Abuse Act and California state law.

             WhatsApp Inc. and Facebook, Inc., alleged that
         defendant, a privately owned and operated Israeli
         corporation, sent malware through WhatsApp’s server
         system to mobile devices.

             The panel held that it had jurisdiction under the collateral
         order doctrine to review the district court’s order denying
         defendant’s motion to dismiss based on a claim of immunity
         from suit.

             The panel held that the Foreign Sovereign Immunity Act
         occupies the field of foreign sovereign immunity and
         categorically forecloses extending immunity to any entity
         that falls outside the Act’s broad definition of “foreign
         state.” The panel rejected defendant’s argument that it could
         claim foreign sovereign immunity under common-law
         immunity doctrines that apply to foreign officials. The panel
         stated that there was no indication that the Supreme Court in
         Samantar v. Yousuf, 560 U.S. 305 (2010), intended to extend
         foreign official immunity to entities. Moreover, the FSIA’s
         text, purpose, and history demonstrate that Congress


             *
               This summary constitutes no part of the opinion of the court. It
         has been prepared by court staff for the convenience of the reader.
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 3 of 20
                                              11/08/21




                 WHATSAPP V. NSO GROUP TECHNOLOGIES               3

         displaced common-law sovereign immunity as it relates to
         entities. The panel therefore affirmed the district court’s
         order.


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Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 4 of 20
                                              11/08/21




         4       WHATSAPP V. NSO GROUP TECHNOLOGIES

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                                  OPINION

         FORREST, Circuit Judge:

              The question presented is whether foreign sovereign
         immunity protects private companies. The law governing
         this question has roots extending back to our earliest history
         as a nation, and it leads to a simple answer—no. Indeed, the
         title of the legal doctrine itself—foreign sovereign
         immunity—suggests the outcome.

             Plaintiffs-Appellees WhatsApp Inc. and Facebook, Inc.
         (collectively WhatsApp) sued Defendants-Appellants NSO
         Group Technologies Ltd. and Q Cyber Technologies Ltd.
         (collectively NSO), alleging that NSO, a privately owned
         and operated Israeli corporation, sent malware through
         WhatsApp’s server system to approximately 1,400 mobile
         devices, breaking both state and federal law. NSO argues
         foreign sovereign immunity protects it from suit and,
         therefore, the court lacks subject matter jurisdiction.
         Specifically, NSO contends that even if WhatsApp’s
         allegations are true, NSO was acting as an agent of a foreign
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 5 of 20
                                              11/08/21




                  WHATSAPP V. NSO GROUP TECHNOLOGIES                   5

         state, entitling it to “conduct-based immunity”—a common-
         law doctrine that protects foreign officials acting in their
         official capacity.

             The district court rejected NSO’s argument, concluding
         that common-law foreign official immunity does not protect
         NSO from suit in this case. We agree that NSO is not entitled
         to immunity in this case, but we reach this conclusion for a
         different reason than did the district court. We hold that the
         Foreign Sovereign Immunity Act (FSIA or Act) occupies the
         field of foreign sovereign immunity as applied to entities and
         categorically forecloses extending immunity to any entity
         that falls outside the FSIA’s broad definition of “foreign
         state.” And we reject NSO’s argument that it can claim
         foreign sovereign immunity under common-law immunity
         doctrines that apply to foreign officials—i.e., natural
         persons. See Samantar v. Yousuf, 560 U.S. 305, 315–16
         (2010). There is no indication that the Supreme Court
         intended to extend foreign official immunity to entities.
         Moreover, the FSIA’s text, purpose, and history demonstrate
         that Congress displaced common-law sovereign immunity
         doctrine as it relates to entities. See Native Vill. of Kivalina
         v. ExxonMobile Corp., 696 F.3d 849, 856 (9th Cir. 2012)
         (“Federal common law is subject to the paramount authority
         of Congress.”).

                             I. BACKGROUND

             NSO is an Israeli company that designs and licenses
         surveillance technology to governments and government
         agencies for national security and law enforcement purposes.
         One of NSO’s products—a program named Pegasus—
         “enables law enforcement and intelligence agencies to
         remotely and covertly extract valuable intelligence from
         virtually any mobile device.” Pegasus users may intercept
         messages, take screenshots, or exfiltrate a device’s contacts
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 6 of 20
                                              11/08/21




         6        WHATSAPP V. NSO GROUP TECHNOLOGIES

         or history. NSO claims that it markets and licenses Pegasus
         to its customers, 1 which then operate the technology
         themselves. According to NSO, its role “is limited to . . .
         providing advice and technical support to assist customers in
         setting up—not operating—the Pegasus technology.”

             WhatsApp provides an encrypted communication
         service to the users of its application. Because of its
         encryption technology, every type of communication
         (telephone calls, video calls, chats, group chats, images,
         videos, voice messages, and file transfers) sent using
         WhatsApp on a mobile device can be viewed only by the
         intended recipient. WhatsApp asserts that NSO used
         WhatsApp’s servers without authorization to send
         “malicious code” to approximately 1,400 WhatsApp users.
         The malicious code was allegedly designed to infect the
         targeted devices for the purpose of surveilling the device
         users.

             In October 2019, WhatsApp sued NSO in federal district
         court. WhatsApp asserted claims under the Computer Fraud
         and Abuse Act, 18 U.S.C. § 1030, and the California
         Comprehensive Computer Data Access and Fraud Act, Cal.
         Penal Code § 502, as well as claims for breach of contract
         and trespass to chattels. WhatsApp alleged that NSO
         intentionally accessed WhatsApp servers without
         authorization to figure out how to place Pegasus on
         WhatsApp users’ devices without detection. WhatsApp
         sought an injunction restraining NSO from accessing
         WhatsApp’s servers, violating WhatsApp’s terms, and


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               WhatsApp contends that NSO’s customers are not limited to
         foreign governments. Whether this is true or not is immaterial to the
         outcome of this case.
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 7 of 20
                                              11/08/21




                 WHATSAPP V. NSO GROUP TECHNOLOGIES                  7

         impairing WhatsApp’s service. WhatsApp also sought
         compensatory, statutory, and punitive damages.

             NSO moved to dismiss the complaint. As relevant here,
         NSO asserted that the court lacked subject matter
         jurisdiction because NSO was acting at the direction of its
         foreign government customers and is protected from suit
         under foreign sovereign immunity. The district court denied
         NSO’s motion. Relying on the Restatement (Second) of
         Foreign Relations Law § 66, the district court concluded that
         NSO was not entitled to common-law conduct-based foreign
         sovereign immunity because it failed to show that exercising
         jurisdiction over NSO would serve to enforce a rule of law
         against a foreign state. This interlocutory appeal followed.

                              II. DISCUSSION

                       A. Interlocutory Jurisdiction

             As a threshold matter, WhatsApp argues that we lack
         jurisdiction over this interlocutory appeal because the
         district court’s order is not a final appealable order. “We
         review questions of our own jurisdiction de novo.” Hunt v.
         Imperial Merch. Servs., Inc., 560 F.3d 1137, 1140 (9th Cir.
         2009) (citation omitted).

             We have jurisdiction over “final decisions of the district
         courts.” 28 U.S.C. § 1291. Under the collateral-order
         doctrine, a small class of interlocutory orders qualifies as
         “final decisions.” See Cohen v. Beneficial Indus. Loan
         Corp., 337 U.S. 541, 545–46 (1949). To be an appealable
         collateral order, the decision must “[1] conclusively
         determine the disputed question, [2] resolve an important
         issue completely separate from the merits of the action, and
         [3] be effectively unreviewable on appeal from a final
         judgment.” P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddy,
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 8 of 20
                                              11/08/21




         8        WHATSAPP V. NSO GROUP TECHNOLOGIES

         Inc., 506 U.S. 139, 144 (1993) (citation omitted). WhatsApp
         contests only the third element—that the order is effectively
         unreviewable after final judgment.

             A common example of an immediately appealable
         collateral order that is effectively unreviewable after final
         judgment is an interlocutory denial of certain immunities
         from suit. SolarCity Corp. v. Salt River Project Agric.
         Improvement & Power Dist., 859 F.3d 720, 725 (9th Cir.
         2017) (noting that the “Supreme Court has allowed
         immediate appeals from” interlocutory denials of Eleventh
         Amendment immunity, absolute and qualified immunity,
         foreign sovereign immunity, and tribal sovereign immunity).
         In contrast, denials of a “defense to liability” are not
         immediately appealable final orders. Id. at 725–26
         (explaining that “[u]nlike immunity from suit, immunity
         from liability can be protected by a post-judgment appeal”
         and “therefore do[es] not meet the requirements for
         immediate appeal under the collateral-order doctrine”).

              The parties dispute whether common-law conduct-based
         foreign official immunity is an immunity from suit, entitling
         it to an interlocutory appeal, or a defense to liability that can
         only be appealed post-judgment. But all agree that foreign
         state sovereign immunity, now codified in the FSIA, is an
         immunity from suit and that an order denying a foreign
         state’s claim of sovereign immunity is immediately
         appealable. Compania Mexicana de Aviacion, S.A. v. U.S.
         Dist. Ct., 859 F.2d 1354, 1358 (9th Cir. 1988). Because we
         conclude that the FSIA governs NSO’s claim of immunity,
         we have jurisdiction over this appeal under the collateral-
         order doctrine.
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 9 of 20
                                              11/08/21




                 WHATSAPP V. NSO GROUP TECHNOLOGIES                   9

                      B. Foreign Sovereign Immunity

         1. Origins of the Doctrine

             Chief Justice John Marshall’s opinion in Schooner
         Exchange v. McFadden, 7 Cranch 116; 3 L. Ed. 287 (1812),
         is credited with establishing foreign sovereign immunity in
         American law. See Opati v. Republic of Sudan, 140 S. Ct.
         1601, 1605 (2020); see also Schooner Exchange, 7 Cranch
         at 136 (noting the Court was “exploring an unbeaten path,
         with few, if any, aids from precedents or written law”).
         Writing for the Court, he reasoned that a nation’s jurisdiction
         within its own boundaries is “exclusive and absolute” and
         any limitations on such jurisdiction “must be traced up to the
         consent of the nation itself. They can flow from no other
         legitimate source.” Schooner Exchange, 7 Cranch at 136.
         Chief Justice Marshall further explained that respecting, and
         claiming, the “perfect equality and absolute independence of
         sovereigns,” the nations of the world have “wave[d] the
         exercise of a part of that complete exclusive territorial
         jurisdiction” in cases brought within their jurisdiction
         against a foreign sovereign and ministers of a foreign
         sovereign. Id. at 137–39; Republic of Austria v. Altmann,
         541 U.S. 677, 688 & n.9 (2004).

             From this origin—described as “the classical or virtually
         absolute theory of sovereign immunity,” Permanent Mission
         of India to the U.N. v. City of New York, 551 U.S. 193, 199
         (2007) (internal quotation marks and citation omitted)—
         “[t]he doctrine of foreign sovereign immunity developed as
         a matter of common law.” Samantar, 560 U.S. at 311.
         During our early years as a country, the State Department
         took the lead in applying foreign sovereign immunity. Id.;
         see also Br. of Foreign Sovereign Immunity Scholars, 4–7,
         No. 20-16408. Essentially, when faced with an immunity
         claim brought by a foreign state or official, if the State
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 10 of 20
                                              11/08/21




         10      WHATSAPP V. NSO GROUP TECHNOLOGIES

         Department suggested immunity, a court would acquiesce.
         Samantar, 560 U.S. at 311–12. And if the State Department
         did not suggest immunity, the court’s inquiry consisted of
         asking whether the State Department had a policy for
         recognizing sovereign immunity in similar circumstances.
         Id. So, the State Department, not the courts, was the primary
         arbiter of foreign sovereign immunity. And the State
         Department’s general practice was to suggest immunity “in
         all actions against friendly sovereigns.” Id. at 312.

         2. The Foreign Sovereign Immunity Act

             In the early 1950s, the State Department abandoned the
         absolute theory of foreign sovereign immunity and “join[ed]
         the majority of other countries by adopting the ‘restrictive
         theory’ of sovereign immunity.” Permanent Mission of India
         to the U.N., 551 U.S. at 199. Under this theory, foreign
         sovereign “‘immunity is confined to suits involving the
         foreign sovereign’s public acts, and does not extend to cases
         arising out of a foreign state’s strictly commercial acts.’”
         Samantar, 560 U.S. at 312 (quoting Verlinden B.V. v. Cent.
         Bank of Nigeria, 461 U.S. 480, 487 (1983)). Congress
         recognized that “[u]nder international law, states are not
         immune from the jurisdiction of foreign courts insofar as
         their commercial activities are concerned.” 28 U.S.C.
         § 1602. Unsurprisingly, the politics of international
         diplomacy, at times, caused the State Department to suggest
         granting immunity in cases where its new, restrictive theory
         would have dictated denial. Samantar, 560 U.S. at 312;
         Verlinden B.V., 461 U.S. at 487. Inconsistent outcomes also
         occurred depending on whether an immunity claim was
         presented to the State Department or a court. Verlinden B.V.,
         461 U.S. at 487–88.

             Congress disapproved of this inconsistency and enacted
         the FSIA to promote uniformity. Samantar, 560 U.S. at 313.
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 11 of 20
                                              11/08/21




                 WHATSAPP V. NSO GROUP TECHNOLOGIES                  11

         As the Act explains, its purpose was twofold: (1) “endorse
         and codify the restrictive theory of sovereign immunity” that
         existed under international law, and (2) “transfer primary
         responsibility for deciding claims of foreign states to
         immunity from the State Department to the courts.” Id.
         (internal quotation marks omitted); 28 U.S.C. § 1602. In
         Congress’s view, placing the responsibility for deciding
         foreign sovereign immunity claims with courts “would serve
         the interests of justice and would protect the rights of both
         foreign states and litigants in the United States courts.”
         28 U.S.C. § 1602. And so, immunity determinations were no
         longer made in the Secretary’s office but a courtroom.

             The Supreme Court has addressed the purpose and scope
         of the FSIA on multiple occasions. In Verlinden B.V., the
         Court addressed whether the FSIA exceeded the scope of
         Article III of the Constitution and concluded that the FSIA
         “contains a comprehensive set of legal standards governing
         claims of immunity in every civil action against a foreign
         state or its political subdivisions, agencies or
         instrumentalities.” 461 U.S. at 488. Likewise, in Republic of
         Austria, the Court considered whether the FSIA governed
         pre-enactment conduct and stated that the FSIA “established
         a comprehensive framework for resolving any claim of
         sovereign immunity.” 541 U.S. at 699 (emphasis added). Six
         years later, the Court addressed whether a foreign official
         comes within the FSIA’s definition of “foreign state” and is,
         therefore, subject to the Act. Samantar, 560 U.S. at 313–14.
         Backing away from its prior expansive pronouncements
         concerning the scope of the FSIA, the Court interpreted the
         Act’s definition of “foreign state” as not including individual
         foreign officials seeking immunity. Id. at 315–20. But the
         Court reiterated that the FSIA does govern the immunity of
         foreign state entities: “The FSIA was adopted . . . to address
         a modern world where foreign state enterprises are every day
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 12 of 20
                                              11/08/21




         12      WHATSAPP V. NSO GROUP TECHNOLOGIES

         participants in commercial activities, and to assure litigants
         that decisions regarding claims against states and their
         enterprises are made purely on legal grounds.” Id. at 323
         (emphasis added) (internal quotation marks and citation
         omitted). Considering that foreign sovereign immunity cases
         involving foreign officials were “few and far between” prior
         to the FSIA’s enactment, the Court’s initial expansive
         pronouncements concerning the scope of the Act are not
         surprising. Id.

              For purposes of resolving the present case, it is worth
         retracing the Court’s interpretative analysis in Samantar.
         The FSIA established that “‘a foreign state shall be immune
         from the jurisdiction of the courts of the United States and
         of the States’ except as provided in the Act.” Id. at 313
         (quoting 28 U.S.C. § 1604). Where it applies, the FSIA takes
         the entire field regarding application of immunity. If a party
         seeking immunity is a “foreign state,” as defined in the Act,
         the FSIA “is the sole basis for obtaining jurisdiction” over
         that party. Id. at 314 (internal quotation marks and citation
         omitted). In such a case, it is improper for courts to consider
         common-law principles. Native Vill. of Kivalina, 696 F.3d at
         856 (“[W]hen federal statutes directly answer the federal
         question, federal common law does not provide a remedy
         because legislative action has displaced the common law.”).
         While “foreign state” could be defined as including only “a
         body politic that governs a particular territory,” Congress
         defined it more broadly. Samantar, 560 U.S. at 314. Under
         the FSIA, “foreign state” includes a body politic, as well as
         its “political subdivisions, agencies, and instrumentalities.”
         Id.; 28 U.S.C. § 1603(a). And “agency or instrumentality” is
         defined to include “any entity [that] is a separate legal
         person, corporate or otherwise and . . . which is an organ of
         a foreign state or political subdivision thereof, or a majority
         of whose shares or other ownership interest is owned by a
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 13 of 20
                                              11/08/21




                   WHATSAPP V. NSO GROUP TECHNOLOGIES                             13

         foreign state or political subdivision thereof.” 28 U.S.C.
         § 1603(b) (emphasis added); Samantar, 560 U.S. at 316
         (“Congress had corporate formalities in mind.”); see also
         EIE Guam Corp. v. Long Term Credit Bank of Japan, Ltd.,
         322 F.3d 635, 640 (9th Cir. 2003) (noting that an entity can
         be an organ of a foreign state even if it is involved in some
         commercial affairs). Given these defined terms, and the
         absence of any reference to individual foreign officials, 2 the
         Supreme Court held that Congress did not intend for the
         FSIA to govern immunity of foreign officials in part because
         “the types of defendants listed [in the FSIA] are all entities.”
         Samantar, 560 U.S. at 317 (emphasis added).

         3. Foreign Sovereign Immunity & Private Entities

             Neither the Supreme Court nor this Court has answered
         whether an entity that does not qualify as a “foreign state”
         can claim foreign sovereign immunity under the common
         law. It is clear under existing precedent that such an entity
         cannot seek immunity under the FSIA. Whether such entity
         can sidestep the FSIA hinges on whether the Act took the
         entire field of foreign sovereign immunity as applied to
         entities, or whether it took the field only as applied to foreign
         state entities, as NSO suggests. The answer lies in the
         question. The idea that foreign sovereign immunity could

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                 We recognize that the FSIA literally includes “person” in the
         definition of “agency or instrumentality,” but as the Supreme Court has
         explained, the phrase “separate legal person, corporate or otherwise” in
         § 1603(b)(1) “typically refers to the legal fiction that allows an entity to
         hold personhood separate from the natural persons who are its
         shareholders or officers.” Samantar, 560 U.S. at 315. “It is similarly
         awkward to refer to a person as an ‘organ’ of the foreign state . . . . [And]
         the terms Congress chose simply do not evidence the intent to include
         individual officials within the meaning of ‘agency or instrumentality.’”
         Id. at 315–16.
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 14 of 20
                                              11/08/21




         14      WHATSAPP V. NSO GROUP TECHNOLOGIES

         apply to non-state entities is contrary to the originating and
         foundational premise of this immunity doctrine. Moreover,
         there is no indication that Congress, in codifying the
         restrictive theory of foreign sovereign immunity to promote
         uniformity and ensure that immunity decisions are based on
         law rather than politics, intended to exempt an entire
         category of entities from its “comprehensive” regime. See 28
         U.S.C. § 1603(b); Republic of Austria, 541 U.S. at 699.
         While the FSIA was silent about immunity for individual
         officials, that is not true for entities—quite the opposite.
         Thus, we hold that an entity is entitled to foreign sovereign
         immunity, if at all, only under the FSIA. If an entity does not
         fall within the Act’s definition of “foreign state,” it cannot
         claim foreign sovereign immunity. Period.

             Before diving into the details, we go back to the
         beginning. Chief Justice Marshall explained that foreign
         sovereign immunity arises from the recognition of the
         “perfect equality and absolute independence of sovereigns.”
         Schooner Exchange, 7 Cranch at 137. We give sovereign
         immunity to other nations as an act of “grace and comity,”
         Verlinden B.V., 461 U.S. at 486, so they will do the same for
         us. This cooperative acknowledgement that each nation has
         equal autonomy and authority promotes exchange and good
         relationships between nations. See Schooner Exchange,
         7 Cranch at 137; see also Siderman de Blake v. Republic of
         Argentina, 965 F.2d 699, 718 (9th Cir. 1992) (quoting Chief
         Justice Marshall’s discussion of the origins of sovereign
         immunity); Butters v. Vance Int’l, Inc., 225 F.3d 462, 465
         (4th Cir. 2000) (“[Sovereign] acts often have political,
         cultural, and religious components. Judicial interference
         with them would have serious foreign policy ramifications
         for the United States.”). None of the purposes for
         recognizing foreign sovereign immunity are served by
         granting immunity to entities and actors that are neither
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 15 of 20
                                              11/08/21




                    WHATSAPP V. NSO GROUP TECHNOLOGIES                          15

         sovereigns themselves nor are not acting on behalf of a
         sovereign. Again, the very name of the doctrine—foreign
         sovereign immunity—reflects this truth. Congress did not
         displace this foundational premise when it enacted the FSIA.
         See Samantar, 560 U.S. at 320 n.13 (“Congress is
         understood to legislate against a background of common-law
         . . . principles” (omission in original) (internal quotation
         marks and citation omitted)).

             As noted above, Congress could have limited the FSIA’s
         reach to only “a body politic that governs a particular
         territory.” Id. at 314. It did not. It expanded the FSIA’s reach
         to “any entity [that] is a separate legal person, corporate or
         otherwise and . . . which is an organ of a foreign state or
         political subdivision thereof, or a majority of whose shares
         or other ownership interest is owned by a foreign state of
         political subdivision thereof.” 28 U.S.C. § 1603(b)
         (emphasis added). In defining what qualifies as a “foreign
         state,” the FSIA necessarily defines the scope of foreign
         sovereign immunity. An entity must be a sovereign or must
         have a sufficient relationship to a sovereign to claim
         sovereign-based immunity. Without such status or
         relationship, there is no justification for granting sovereign
         immunity. It is odd indeed to think that by not including a
         category of entity within its definition of “foreign state,”
         Congress intended for such entities to have the ability to seek
         immunity outside its “comprehensive” statutory scheme. See
         Republic of Austria, 541 U.S. at 699.

             This reasoning is supported by the expressio unius
         exclusio alterius 3 interpretive canon. In creating a
         “comprehensive set of legal standards governing claims of
         immunity . . . against a foreign state or its political

            3
                The expression of one thing implies the exclusion of another.
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 16 of 20
                                              11/08/21




         16        WHATSAPP V. NSO GROUP TECHNOLOGIES

         subdivisions, agencies or instrumentalities,” Verlinden B.V.,
         461 U.S. at 488, Congress defined the types of foreign
         entities—including,      specifically,    foreign     corporate
         entities 4—that may claim immunity. 28 U.S.C. § 1603(b).
         The most reasonable interpretation then is that the definition
         of “foreign state” forecloses immunity for any entity falling
         outside such definition, particularly where “foreign state” is
         defined broadly. 5 See Pfizer, Inc. v. Gov’t of India, 434 U.S.
         308, 312–13 (1978) (noting that expansive statutory
         language matched the underlying statute’s comprehensive
         nature); Ingersoll-Rand Co. v. McClendon, 498 U.S. 133,
         138–39 (1990) (explaining that defining a term broadly
         underscored Congress’s intent that the underlying statutory
         term be expansively applied). And the Supreme Court’s
         holding in Samantar that individual foreign officials are not
         subject to the FSIA does not defeat this interpretation
         because, as the Court explained, the FSIA did not address, at

              4
               The Supreme Court has recognized that in enacting the FSIA,
         “Congress was aware of settled principles of corporate law and legislated
         within that context.” Dole Food Co. v. Patrickson, 538 U.S. 468, 474
         (2003).
              5
                The D.C. Circuit recently relied on the common law in denying
         foreign sovereign immunity to three United States citizens and a United
         States limited liability corporation. Broidy Cap. Mgmt. LLC v. Muzin,
         12 F.4th 789, 798 (D.C. Cir. 2021). When summarizing Samantar, the
         court presumed without explanation that the common law applied to
         “private entities or individuals.” Id. at 802. Unlike here, the parties in
         Broidy agreed that the FSIA did not apply; the defendants made only
         common-law arguments, and the defendant-entity was domestic, not
         foreign. Id. at 792; see also NML Cap., Ltd., 573 U.S. at 142. The D.C.
         Circuit did not make an explicit finding that foreign sovereign immunity
         claims from foreign private entities should be analyzed under the
         common law, and it did not explain its summary assertion that a private
         entity can seek immunity under the common law despite the FSIA. See
         Broidy, 12 F.4th at 802.
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 17 of 20
                                              11/08/21




                 WHATSAPP V. NSO GROUP TECHNOLOGIES                  17

         all, immunity for individuals or natural persons. 560 U.S.
         at 319 (“Reading the FSIA as a whole, there is nothing to
         suggest we should read ‘foreign state’ in § 1603(a) to include
         an official acting on behalf of the foreign state, and much to
         indicate that this meaning was not what Congress enacted.”).

              Moreover, the Act’s definition of “foreign state” cannot
         be divorced from the context that “[t]he FSIA was adopted
         . . . to address a modern world where foreign state
         enterprises are every day participants in commercial
         activities.” Id. at 323 (emphasis added) (internal quotation
         marks and citation omitted). Congress prohibited applying
         foreign sovereign immunity to “strictly commercial acts.”
         Id. at 312. So, a plaintiff who can show that a foreign
         entity—even a direct sovereign like the Welsh
         Government—was engaged in “a regular course of
         commercial conduct or a particular commercial transaction
         or act,” 28 U.S.C. § 1603(d), may defeat a claim of
         immunity, see Pablo Star Ltd. v. Welsh Gov’t, 961 F.3d 555,
         560 (2d Cir. 2020), cert. denied, 141 S. Ct. 1069 (2021);
         28 U.S.C. § 1605(a)(2). It makes little sense to conclude that
         the FSIA leaves open the possibility that a corporate entity
         less connected to a sovereign than those meeting the
         statutory definition of “foreign state” could seek immunity
         for commercial conduct under a different immunity doctrine
         while entities more connected to a sovereign—even a body
         politic itself—could not. Especially where the other
         immunity doctrine proffered, foreign official immunity, is as
         narrowly focused on natural persons as the FSIA is broadly
         focused on entities. See Samantar, 560 U.S. at 323 (finding
         “no reason to believe that Congress saw as a problem, or
         wanted to eliminate, the State Department’s role in
         determinations regarding individual official immunity.”).
         Instead, the omission of entities like NSO from the FSIA’s
         definition of foreign states and their “political subdivisions,
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 18 of 20
                                              11/08/21




         18        WHATSAPP V. NSO GROUP TECHNOLOGIES

         agencies, and instrumentalities” reflects a threshold
         determination about the availability of foreign sovereign
         immunity for such entities: they never qualify. 6

         4. NSO’s Foreign Sovereign Immunity Claim

             Concluding that the FSIA governs all foreign sovereign
         immunity claims brought by entities, as opposed to
         individuals, makes this an easy case. NSO is a private
         corporation that designs spyware technology used by
         governments for law enforcement purposes. According to
         NSO, its Pegasus technology is a program that was
         “marketed only to and used only by sovereign governments”
         and it allowed those governments “to intercept messages,
         take screenshots, or exfiltrate a device’s contacts or
         history.” 7 NSO’s clients choose how and when to use
         Pegasus, not NSO. NSO simply licenses the technology and
         provides “advice and technical support” at its customers’
         direction.

             NSO does not contend that it meets the FSIA’s definition
         of “foreign state,” and, of course, it cannot. It is not itself a
         sovereign. 28 U.S.C. § 1603(a). It is not “an organ . . . or

              6
                In Butters, the Fourth Circuit extended the doctrine of domestic
         derivative sovereign immunity, applicable to United States contractors,
         to a United States corporation acting as an agent of a foreign state.
         225 F.3d at 466. Butters did not discuss whether this common-law
         doctrine also extends to foreign contractors acting on behalf of foreign
         states. In any event, it is unclear what remains of such reasoning where
         the Supreme Court has instructed that “any sort of immunity defense
         made by a foreign sovereign in an American court must stand on the
         Act’s text. Or it must fall.” Republic of Argentina v. NML Cap., Ltd.,
         573 U.S. 134, 142 (2014).

              NSO alleges that its customers include the Kingdom of Bahrain,
              7

         the United Arab Emirates, and Mexico.
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 19 of 20
                                              11/08/21




                   WHATSAPP V. NSO GROUP TECHNOLOGIES                          19

         political subdivision” of a sovereign. Id. § 1603(b)(2). Nor
         is a foreign sovereign its majority owner. Id. NSO is a
         private corporation that provides products and services to
         sovereigns—several of them. NSO claims that it should
         enjoy the immunity extended to sovereigns because it
         provides technology used for law-enforcement purposes and
         law enforcement is an inherently sovereign function.
         Whatever NSO’s government customers do with its
         technology and services does not render NSO an “agency or
         instrumentality of a foreign state,” as Congress has defined
         that term. Thus, NSO is not entitled to the protection of
         foreign sovereign immunity. And that is the end of our task.
         There is no need to analyze whether NSO is entitled to
         immunity under the common law and inquire how the State
         Department would resolve this case. See WhatsApp Inc. v.
         NSO Grp. Techs. Ltd., 472 F. Supp. 3d 649, 665 (N.D. Cal.
         2020). Nor is it necessary to explain that neither the State
         Department nor any court has ever applied foreign official
         immunity to a foreign private corporation under the common
         law, although this is a compelling fact indeed. 8 The proper
         analysis begins and ends with the FSIA, the comprehensive
         framework Congress enacted for resolving any entity’s




             8
               There is not a single documented instance of the State Department
         recommending conduct-based immunity for a foreign private
         corporation. See, e.g., Digest of U.S. Practice in International Law 2020,
         at 403–09 (CarrieLyn D. Guymon, ed.); Digest of U.S. Practice in
         International Law 2019, at 344–55 (CarrieLyn D. Guymon, ed.); Digest
         of U.S. Practice in International Law 2018, at 410–13 (CarrieLyn D.
         Guymon, ed.); Digest of U.S. Practice in International Law 2017, at 444–
         55 (CarrieLyn D. Guymon, ed.); Digest of U.S. Practice in International
         Law 2016, at 450–61 (CarrieLyn D. Guymon, ed.). Nor have we found
         any case contemplating the same.
Case: 20-16408, 11/08/2021,
Case 4:19-cv-07123-PJH      ID: 12280634,
                         Document         DktEntry:
                                    157 Filed       76-1, Page 20 of 20
                                              11/08/21




         20      WHATSAPP V. NSO GROUP TECHNOLOGIES

         claim of foreign sovereign immunity. See Republic of
         Austria, 541 U.S. at 699; Samantar, 560 U.S. at 319.

              AFFIRMED.
